Case 8:15-cv-00192-AEP Document 133-2 Filed 05/24/17 Page 1 of 15 PageID 1840




                  EXHIBIT B
Case 8:15-cv-00192-AEP Document 133-2 Filed 05/24/17 Page 2 of 15 PageID 1841
Case 8:15-cv-00192-AEP Document 133-2 Filed 05/24/17 Page 3 of 15 PageID 1842
Case 8:15-cv-00192-AEP Document 133-2 Filed 05/24/17 Page 4 of 15 PageID 1843
Case 8:15-cv-00192-AEP Document 133-2 Filed 05/24/17 Page 5 of 15 PageID 1844
Case 8:15-cv-00192-AEP Document 133-2 Filed 05/24/17 Page 6 of 15 PageID 1845
Case 8:15-cv-00192-AEP Document 133-2 Filed 05/24/17 Page 7 of 15 PageID 1846

                                                                              Page 22

   1     commissions.

   2           Q.     Is it your belief as we sit here today that an

   3     assignment of a contract is the same as an assignment of

   4     commissions?

   5                  MR. DONAHUE:     Object to the form.

   6                  THE WITNESS:     Yes.    Restate it for me.

   7     BY MR. MILLIAN:

   8           Q.     As we sit here today --

   9           A.     Uh-huh.

  10           Q.     -- is it your belief that an assignment of

  11     contract is the same thing as an assignment of

  12     commissions, not -- not in connection with the sale of the

  13     businessman?

  14                  MR. DONAHUE:     Same objection.

  15                  THE WITNESS:     Sure.    So I would say today in our

  16           current practice which, of course, is not, you know,

  17           the same practice that was used back then.             Today

  18           there are two very different forms with two very

  19           different purposes, but as I've stated before,

  20           previously those forms were used interchangeably with

  21           the purpose to only assign commissions.

  22                  MR. MILLIAN:     Okay.    I'm going to show you what

  23           we're going to mark as Exhibit 2.

  24                  (Whereupon, a document entitled          "American

  25           General Assignment of Agent Contract," was



       1/18/2017 American General Life Insurance v. Keven H. Bechtel, et al
Case 8:15-cv-00192-AEP Document 133-2 Filed 05/24/17 Page 8 of 15 PageID 1847

                                                                              Page 23

   1           marked as Exhibit 2 for identification, as of this

   2           date.)

   3     BY MR. MILLIAN:

   4           Q.     This is titled, "American General Assignment of

   5     Agent Contract."       What does this document do?         Do you know

   6     what this document is?

   7           A.     Yes.

   8           Q.     Okay.   What is it?

   9           A.     This document, as I've said, when used in '03

  10     would allow an agent to assign his commissions to whoever

  11     he chooses.

  12                  So in this example here, it's telling me that

  13     Kevin Bechtel is assigning his compensation to Life

  14     Brokerage Equity Group.

  15           Q.     So that's what that document says to you?

  16           A.     Yes.

  17           Q.     It doesn't say anything else to you?

  18                  MR. DONAHUE:     Object to the form.

  19                  THE WITNESS:     So this document, that's -- this

  20           is what this document says to me and how it was

  21           interpreted and used within our system, yes.

  22     BY MR. MILLIAN:

  23           Q.     Well, as we sit here today?         Because you

  24     testified a little bit earlier you didn't know how it was

  25     done in 2003.



       1/18/2017 American General Life Insurance v. Keven H. Bechtel, et al
Case 8:15-cv-00192-AEP Document 133-2 Filed 05/24/17 Page 9 of 15 PageID 1848

                                                                              Page 24

   1                  MR. DONAHUE:     Is that a question?

   2                  MR. MILLIAN:     Correct?

   3     BY MR. MILLIAN:

   4           Q.     Now it's a question.

   5           A.     So as I said, when I responded, I said, "My

   6     apologies," and I wanted to correct myself.

   7           Q.     Correct.

   8           A.     So in '03, this form was used interchangeably

   9     with the assignment of commissions.

  10           Q.     Okay.    But you weren't involved with this

  11     transaction between Kevin Bechtel, Life Brokerage Equity

  12     Group and American General back in 2003, correct?

  13           A.     I was not in L&C in 2003.

  14           Q.     So we as we sit here today, you don't know what

  15     the intent was personally?

  16           A.     So I can only speak to how the agent was coded

  17     in the system in reviewing the record, and I can tell you

  18     if this was a true agent contract, Kevin Bechtel would

  19     have been terminated when this was received because,

  20     essentially, he would have had no contract, and that is

  21     not the case.        He was active, and that's why I can deduce,

  22     then, that this was used as I thought, as an assignment of

  23     commissions.

  24           Q.     Within American General, correct?

  25           A.     Correct.



       1/18/2017 American General Life Insurance v. Keven H. Bechtel, et al
Case 8:15-cv-00192-AEP Document 133-2 Filed 05/24/17 Page 10 of 15 PageID 1849
Case 8:15-cv-00192-AEP Document 133-2 Filed 05/24/17 Page 11 of 15 PageID 1850
Case 8:15-cv-00192-AEP Document 133-2 Filed 05/24/17 Page 12 of 15 PageID 1851
Case 8:15-cv-00192-AEP Document 133-2 Filed 05/24/17 Page 13 of 15 PageID 1852
C
Case 8:15-cv-00192-AEP Document 133-2 Filed 05/24/17 Page 14 of 15 PageID 1853
Case 8:15-cv-00192-AEP Document 133-2 Filed 05/24/17 Page 15 of 15 PageID 1854
